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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                   )
 Socket Solutions, LLC,
                                                   )
                                                   )
                        Plaintiff,
                                                   )    Case No. ______________
                v.
                                                   )
                                                   )    JURY TRIAL DEMANDED
 Import Global, LLC,
                                                   )
                                                   )
                        Defendant.
                                                   )

                             COMPLAINT
        PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF REQUESTED

        Plaintiff Socket Solutions, LLC (“Socket Solutions”) for its Complaint against Import

 Global, LLC (“Global”) alleges:

                                     NATURE OF THE ACTION

        1.      This is a civil action for patent infringement of U.S. Patent No. 9,509,080 (“the

 ‘080 Patent”), attached as Exhibit A.

        2.      The ‘080 Patent relates to a “Functional Indoor Electrical Wall Outlet Cover” that

 plugs into a standard electrical wall outlet and fully conceals the outlet while providing one or

 more receptables for electrical plugs at the other end of an extension cord.

        3.      Global has a storefront on Amazon.com in which it offers to sell electrical wall

 outlet covers (“Infringing Outlet Covers”) that infringe at least claim 19 of the ‘080 patent.

                                          THE PARTIES

        4.      Socket Solutions is a limited liability company, organized in Texas with a principal

 place of business in Houston, Texas.

        5.      Socket Solutions owns all rights to the ‘080 Patent.
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         6.          Socket Solutions sells a successful line of electrical wall outlet covers that practice

 the ‘080 Patent claims.

         7.          Upon information and belief, Global is a Florida limited liability company, residing

 in Miami, that imports, offers to sell, and sells Infringing Outlet Covers on Amazon.com and

 perhaps elsewhere, under the brand name “Neat Socket.”

                                      JURISDICTION AND VENUE

         8.          The Court has subject matter jurisdiction over this patent infringement claim under

 28 U.S.C. §§ 1331 and 1338(a).

         9.          Global offers to sell and sells Infringing Outlet Covers that infringe the ‘080 Patent

 to U.S. customers on Amazon.com, including those in Florida and in this judicial district.

         10.         Upon information and belief, Global resides in Florida, in this judicial district.

         11.         The Court has personal jurisdiction over Global because, upon information and

 belief, Global resides in this district.

         12.         Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because Global resides

 in this district.

                                              BACKGROUND

 Socket Solutions and the Sleek Socket® Products

         13.         Socket Solutions is the exclusive worldwide manufacturer of Sleek Socket®

 products and the leading seller of ultra-thin outlet cover/power strips.

         14.         Sleek Socket® products provide an innovative and affordable way to completely

 hide electrical wall outlets via a unique, ultra-thin plug design that extends only fractions of an

 inch from the outlet.




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         15.    Sleek Socket® products dramatically reduce obstructions that traditional plugs

 create between furniture and the outlet, allowing users to position furniture closer to the wall while

 providing electrical receptacles in a more conveniently located power strip.

         16.    Sleek Socket® products cover unsightly outlets, creating a more appealing visual

 look while reducing or eliminating hazards for children and pets.

         17.    The United States Patent and Trademark Office has awarded various patents on the

 inventions embodied in the Sleek Socket® products, including the ‘080 Patent.

         18.    Socket Solutions holds the exclusive rights to make, use, sell and/or offer to sell

 any invention embodying the ‘080 Patent claims throughout the United States, as well as the

 exclusive right to import any invention embodying the ‘080 Patent claims into the United States.

 The ‘080 Patent

         19.    Socket Solutions is the assignee and owner of all right, title, and interest in and to

 the ‘080 patent, which the United States Patent and Trademark Office issued on November 29,

 2016.

         20.    The image below, Figure 1 from the ‘080 Patent, depicts one embodiment of the

 invention claimed in that patent.




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        21.       The ‘080 Patent relates to a device that covers the wall outlet while allowing that

 outlet to be used. The cover, which plugs into the wall outlet, is designed to be very thin, which

 allows it to be used in tight places behind furniture and which also gives it a sleek look in open

 areas where the wall outlet otherwise would readily be visible.

        22.       The Sleek Socket® products, which embody the ‘080 invention, have been

 commercially successful and have become the leading products of their kind in the market.

        23.       Socket Solutions has developed a reputation for selling high quality, safe electronic

 products that practice the ‘080 Patent claims.

        24.       Socket Solutions has complied with the requirements of 35 U.S.C. § 287 by, among

 other things, marking the packaging for its patented products with the ‘080 Patent number.

 Global’s Infringing Outlet Covers

        25.       Global sells the Infringing Outlet Covers on Amazon.com, under the name “Neat

 Socket.”

        26.       Upon information and belief, Global uses this name because of its similarity to

 Sleek Socket®.



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           27.   The Infringing Outlet Cover is designed to look essentially identical to the Sleek

 Socket® products.

           28.   The external appearance of the Infringing Outlet Cover in fact is essentially

 identical to that of the Sleek Socket® products.

           29.   Global promotes the Infringing Outlet Cover on its Amazon.com product listing

 page to mimic the appearance of the Sleek Socket® images on Socket Solutions’ Amazon.com

 product listing page. (Compare “Neat Socket” image, below left, with Sleek Socket® image, below

 right.)




           30.   As of the filing date of this Complaint, Global offered the Infringing Outlet Cover

 for sale at the following Amazon.com links:

                 •   https://www.amazon.com/Neat-Socket-Flat-Extension-
                     Ports/dp/B0CDNPSXJV [3-foot cord]

                 •   https://www.amazon.com/Neat-Socket-Flat-Extension-
                     Ports/dp/B0CDNGWFLG [8-foot cord]

           31.   The Infringing Outlet Covers infringe at least claim 19 of the ‘080 Patent by

 practicing each limitation of that claim.

           32.   The Infringing Outlet Covers sold by Global compete directly with the patented

 Sleek Socket® products.


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           33.   Global is not licensed to make, import, use, offer to sell or sell any inventions

 claimed in the ‘080 Patent.

                                             Count I
                                       Patent Infringement
                          Direct Infringement Under 35 U.S.C. § 271(a)

           34.   Socket Solutions incorporates the allegations contained in paragraphs 1 through 33

 of this Complaint as though fully set forth in this paragraph.

           35.   Global has been, and currently is, infringing at least claim 19 of the ‘080 Patent by

 selling and offering to sell the Infringing Outlet Covers in the United States.

           36.   Global also has been, and currently is, infringing at least claim 19 of the ‘080 Patent

 by importing the Infringing Outlet Covers into the United States.

           37.   Socket Solutions has been damaged by Global’s actions in an amount to be

 determined at trial.

           38.   Unless Global is enjoined, it will continue to infringe the ‘080 Patent.

           39.   Socket Solutions has been irreparably harmed by Global’s infringement. Unless it

 is enjoined, Global will continue to harm Socket Solutions irreparably. Monetary damages alone

 cannot compensate for this harm.

                                           Count II
                                      Patent Infringement
                               Inducement Under 35 U.S.C. § 271(b)

           40.   Socket Solutions incorporates the allegations contained in paragraphs 1 through 39

 of this Complaint as though fully set forth in this paragraph.

           41.   Upon information and belief, Global actively encourages its customers to use the

 Infringing Outlet Covers in the U.S. That customer use infringes at least claim 19 of the ‘080

 Patent.




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        42.     Global encourages that infringing customer use even though, on information and

 belief, Global knows of Socket Solutions’ ‘080 Patent.

        43.     On information and belief, Global knew of the ‘080 patent before it began selling

 the Infringing Outlet Cover.

        44.     Upon information and belief, Global acquired one or more samples of the Sleek

 Socket® products before it began selling the Infringing Outlet Cover.

        45.     Upon information and belief, Global had its product packaging for the Infringing

 Outlet Cover designed to simulate the Sleek Socket® packaging.

        46.     The Sleek Socket® product and packaging both bear patent markings that identify

 the product as patented under the ‘080 patent.

        47.     Socket Solutions has been damaged by Global’s actions in an amount to be

 determined at trial.

        48.     Unless Global is enjoined, it will continue to induce its customers to infringe the

 ‘080 Patent.

        49.     Socket Solutions has been irreparably harmed by Global’s actions inducing others

 to infringe the ‘080 Patent. Unless it is enjoined, Global’s actions will continue to harm Socket

 Solutions irreparably. Monetary damages alone cannot compensate for this harm.

        50.     Upon information and belief, Global’s infringement has been willful, as reflected

 in Global’s efforts to copy the patented Sleek Socket® products, product marketing, and packaging.


                                    REQUEST FOR RELIEF

        WHEREFORE, Socket Solutions asks this Court to:

        a.      Find that U.S. Patent No. 9,509,080 is valid and enforceable;

        b.      Find that Global has infringed U.S. Patent No. 9,509,080;



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        c.      Preliminarily and permanently enjoin Global from infringing U.S. Patent No.

 9,509,080;

        d.      Award Socket Solutions damages sufficient to compensate it for Global’s past

 infringement of U.S. Patent No. 9,509,080, together with costs and pre-judgment interest;

        e.      Award Socket Solutions treble damages for Global’s willful infringement; and

        f.      Award Socket Solutions such other and further relief as may be just and proper

 under the circumstances.

                                 DEMAND FOR JURY TRIAL

        Socket Solutions requests a trial by jury under Rule 38 of the Federal Rules of Civil

 Procedure of all issues that may be determined by a jury.


                                                     Respectfully submitted,

  Dated: November 29, 2023                           /s/ Jason P. Stearns

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